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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  JEFFREY BOTKINS,                                   )
                                                     )
                        Plaintiff,                   )
                                                     )
               v.                                    )     No. 1:17-cv-04419-WTL-MPB
                                                     )
  WEXFORD MEDICAL SERVICES,                          )
  PAUL TALBOT, M.D.                                  )
                                                     )
                        Defendants.                  )


      DEFENDANTS’ PAUL TALBOT, M.D. AND WEXFORD OF INDIANA, LLC’S
     ANSWER, JURY DEMAND AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                     SECOND AMENDED COMPLAINT

        Defendants, Paul Talbot, M.D. and Wexford of Indiana, LLC (“Medical Defendants”), by

 counsel and for their Answer, Jury Demand and Affirmative Defenses to Plaintiff’s Second

 Amended Complaint, state the following:

                             I.       JURISDICTION AND VENUE

        1.      Medical Defendants do not contest jurisdiction of the Court. Medical Defendants

 deny all remaining claims in this paragraph.

        2.      Medical Defendants do not contest venue.

                                      II.       PLAINTIFF(S)

        3.      Upon information and belief, Medical Defendants admit the allegations in this

 paragraph.

                                      III.      DEFENDANTS

        4.      Medical Defendants admit Dr. Talbot is employed by Wexford of Indiana, LLC.

 Medical Defendants’ deny all remaining claims in this paragraph.
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        5.         Medical Defendants admit Dr. Talbot is employed by Wexford of Indiana, LLC.

 Medical Defendants’ deny all remaining claims in this paragraph. Medical Defendants admit that

 Wexford of Indiana, LLC is a wholly owned subsidiary of The Bantry Group Corporation and The

 Bantry Group Corporation owns 100% of Wexford of Indiana, LLC.

        6.         Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        7.         Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        8.         Medical Defendants deny the allegations in this paragraph.

 IV.    FACTS

        8. (sic) Medical Defendants admit that on October 17, 2017, Dr. Talbot ordered that Mr.

 Botkins be placed in HRU at the Pendleton Correctional Facility for observation related to nasal

 congestion and chronic asthma. Medical Defendants deny all remaining allegations in this

 paragraph.

        9.         Medical Defendants deny the allegations in this paragraph.

        10.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        11.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        12.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        13.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.



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        14.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        15.        Medical Defendants deny the allegations in this paragraph.

        16.        Medical Defendants admit that Dr. Talbot ordered that Mr. Botkins be permitted to

 keep his clothing and extra blankets while in HRU. Medical Defendants deny all remaining

 allegations in this paragraph.

        17.        Medical Defendants deny the allegations in this paragraph.

        18.        Medical Defendants deny the allegations in this paragraph.

        19.        Medical Defendants deny the allegations in this paragraph.

        20.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        21.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.

        22.        Medical Defendants deny the allegations in this paragraph.

        23.        Medical Defendants deny the allegations in this paragraph.

                          V.      EXHAUSTION OF LEGAL REMEDIES

        24.        Medical Defendants deny the allegations in this paragraph; however, Medical

 Defendants admit there is not sufficient information to pursue the affirmative defense of failure to

 exhaust administrative remedies.

        25.        Medical Defendants lack sufficient information to admit or deny the allegations in

 this paragraph.




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                                     VI.     LEGAL CLAIMS

        26.      Medical Defendants hereby reallege and incorporate by reference paragraphs 1-25.

        27.      Medical Defendants deny the allegations in this paragraph.

        28.      Medical Defendants deny the allegations in this paragraph.

                                  VII.     PRAYER FOR RELIEF

        29.      Medical Defendants deny that Plaintiff is entitled to the relief requested in this

 paragraph.

        30.      Medical Defendants deny that Plaintiff is entitled to the relief requested in this

 paragraph.

        31.      Medical Defendants deny that Plaintiff is entitled to the relief requested in this

 paragraph.

        32.      Medical Defendants deny that Plaintiff is entitled to the relief requested in this

 paragraph.

        33.      Medical Defendants deny that Plaintiff is entitled to the relief requested in this

 paragraph.

        34.      Medical Defendants also request a trial by jury.

        35.      Medical Defendants deny that Plaintiff is entitled to the relief requested in this

 paragraph.

                                            GENERAL DENIAL

        To the extent not specifically addressed above, Medical Defendants deny all allegations

 against them.

        WHEREFORE, Medical Defendants respectfully request that Plaintiff’s lawsuit against

 them be dismissed, and for all other appropriate relief.


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                                           JURY DEMAND
         Medical Defendants demand a trial by jury.

                                    AFFIRMATIVE DEFENSES

         Medical Defendants, by counsel and for their Affirmative Defenses, state the following:

         1.      Plaintiff is not entitled to any relief under 42 USC § 1983.

         2.      Plaintiff has not been denied any rights protected by the United States Constitution,

 federal law, or Indiana law.

         3.      Defendants deny that Plaintiff has suffered any cognizable injuries or damages as

 a result of any acts or omissions on the part of the Defendants.

         4.      Plaintiff’s injuries and damages, if any, are the result of a pre-existing condition or

 disease.

         5.      At all times, Defendants met or exceeded the applicable standard of care while

 providing medical and/or mental health services to the Plaintiff.

         6.      Defendants reserve the right to amend these affirmative defenses and add new

 affirmative defenses in the event future discovery reveals the existence of or need for such.

         WHEREFORE, Medical Defendants respectfully request that this Court enter judgment in

 their favor and against the Plaintiff, and for all other appropriate relief.



                                           Respectfully submitted,


                                           /s/ Britney J. McMahan
                                           Britney J. McMahan, Attorney No. #32066-49
                                           Douglass R. Bitner Attorney #34981-49
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                                Attorneys for Paul Talbot, M.D. and Wexford of Indiana,
                                LLC




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                                   CERTIFICATE OF SERVICE
         I hereby certify that on February 28, 2019, a copy of the foregoing document was filed

  electronically. Notice of this filing will be sent to the following parties by operation of the Court’s

  electronic filing system. Parties may access this filing through the Court’s system.

         [n/a]

         I hereby certify that on February 28, 2019, a copy of the foregoing was mailed, by first

  class mail U.S. Mail, postage prepaid and properly addressed to the following:

        Jeffrey Botkins (IDOC# 200684)
        NEW CASTLE CORRECTIONAL FACILITY
        Inmate Mail/Parcel
        1000 Van Nuys Road
        New Castle, IN 47362
        Pro Se
                                       /s/ Britney J. McMahan




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